Case 3:06-cr-30070-DRH     Document 75     Filed 12/15/06   Page 1 of 1    Page ID #172




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS


 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 JOHN CROCKRAN, et al.,

       Defendants.                                      Case No. 06-cr-30070-DRH

                                       ORDER

 HERNDON, District Judge:

              Defendant Crockran has filed a Motion for Temporary Bond to Attend

 Funeral (Doc, 74), Crockran is currently a pre-trial detainee. He seeks bond in order

 to attend the funeral of his mother on December 16, 2006. However, he also states

 that he does not have the financial capability to post bond, if granted. In reviewing

 Crockran’s criminal record, the charge pending against the defendant and the

 requirements of the statute, 18 U.S.C. § 3142, the Court cannot make the

 appropriate finding to release him on bond, even for this occasion. Furthermore,

 the defendant advises that he does not have the capability to pay the fee for the U.S.

 Marshal to escort him. Therefore, said Motion (Doc. 74) is DENIED.

              IT IS SO ORDERED.

              Signed this 15th day of December, 2006.

                                                       /s/       David RHerndon
                                                       United States District Judge
